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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA


CHERYL SAGATAW, DEANTHONY
BARNES, ROBERTA STRONG,
TRAVIS NELOMS, ALVIN BUTCHER,
ADRIAN TIGER, CHANCE
ASKENETTE, DEVEN CASTON,
LOLA HEGSTROM, and RONDEL                                 Civil Action No.
APPLEBEE on behalf of themselves and
a class of similarly-situated individuals,            0:24-cv-00001-ECT/TNL

                           Plaintiffs,             LR 7.1 WORD COUNT
         vs.                                     COMPLIANCE CERTIFICATE

MAYOR JACOB FREY, in his individual
and official capacity,

                           Defendant.

      I, Kira Kelley, certify that Plaintiffs’ Reply Memorandum in Support of

Plaintiffs’ Motion for Class Certification Pursuant to Fed. R. Civ. P 23(A) &

23(B)(2) conforms to the requirements of LR 7.1(f) and LR 7.1(h). This reply

memorandum was prepared in 14-point font using Google Docs, whose word count

function has been applied specifically to count all text aside from the case caption

and signature block and tables of contents and authorities, and includes headings,

footnotes, and quotations. and totals 3,568 words. Together with the length of

Plaintiffs’ previous Memorandum (4,375) these filings together amount to 7,943

words and comply with the cumulative 12,000 word limit.



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     Respectfully submitted,




Dated: March 10, 2025​   ​     ​   s/Kira Kelley
​     ​    ​      ​      ​     ​   Kira Kelley (#402932)
​     ​    ​      ​      ​     ​   Staff Attorney
​     ​    ​      ​      ​     ​   Climate Defense Project
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​    ​     ​     ​       ​     ​   ATTORNEY FOR PLAINTIFFS




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